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            EXHIBIT 5
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
KATHRYN TOWNSEND GRIFFIN, HELEN
MCDONALD, and THE ESTATE OF CHERRIGALE
TOWNSEND,
                Plaintiffs,

          -against-
                                            ECF CASE
EDWARD CHRISTOPHER SHEERAN, p/k/a ED
SHEERAN, ATLANTIC RECORDING                 17-cv-5221 (RJS)
CORPORATION, d/b/a ATLANTIC RECORDS,
SONY/ATV MUSIC PUBLISHING, LLC, and
WARNER MUSIC GROUP CORPORATION, d/b/a
ASYLUM RECORDS

                 Defendants.




               AUDIO EXHIBIT — DELIVERED TO CHAMBERS
